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              EXHIBIT 20
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                     Ministry of Commerce and Ministry of Science and Technology publish the revised
                            Catalogue of Technologies Subject to Export Bans and Restrictions
                                              August 30, 2020 - 13:16 BJT (20:16 GMT) MOFCOM




                  On August 28, the Ministry of Commerce and the Ministry of Science and Technology published
                  the revised Catalogue of Technologies Subject to Export Bans and Restrictions (Announcement No.
                  38 (2020), hereinafter referred to as “the Catalogue”).

                  This revision of the Catalogue incorporates comments from relevant authorities, industry
                  associations, business and academic communities, and the general public. 53 items are involved;
                  specifically, 4 items subject to export ban are removed, 5 items subject to export restriction are
                  removed, 23 items subject to export restriction are added, and the control points and technical
                  specifications for 21 items are revised.

                  According to the Regulations of the People’s Republic of China for the Administration of the
                  Import and export of Technologies, any outbound transfer of technology, be it by means of trade or
                  any other way, shall be subject to the provisions of the Regulation. For the export of technologies
                  subject to export restriction, the exporter must apply to the provincial commerce authority for a
                  technology export license. Only upon the approval of such a license can the exporter be engaged in
                  substantial negotiations with a foreign entity and conclude a technology export contract.




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